Case 1:18-cv-01278-LMB-MSN Document 11 Filed 09/30/19 Page 1 of 4 PageID# 69




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF VIK^tA'
                                   ALEXANDRIA DIVISIOl^'

  UNITED STATES OF AMERICA
  ex rel. ESTELA MALDONADO,

  Plaintiffi'Relator,                                    Civil No. l:I8-cv-01278(LMB/IDD)

  V.

                                                         FILED UNDER SEAL PURSUANT
 VIRGINIA SQUARE DENTAL,                                 TO TITLE 31 U.S.C. S 3730rb¥2^
 PLLC,et al.,
                                                         FILED EX PARTE
  Defendants.




            JOINT NOTICE OFVOLUNTARY DISMISSAL WITHOUT PREJUDICE
                                              AND
                                    MOTION TO UNSEAL

        Pursuant to Rule 4I(a)(l)(i) ofthe Federal Rules of Civil Procedure, Estela Maldonado,

Relator, voluntarily dismisses the claims in the complaint arising out of:(1)the False Claims

Act, 31 U.S.C. § 3729 et seq.,(Claims I and II); and(2)the Virginia False Claims Act, Va. Code

Ann. § 8.01-216.3 (Claims IV and V),in the above-captioned action, against Virginia Square

Dental,PLLC,JPD Dental,PLLC,Dr. Jamie Park, and Min Park, without prejudice to the

United States and the Commonwealth of Virginia (collectively,"the Government")and with

prejudice as to the Relator.                     <

       Pursuant to 31 U.S.C. § 3730(b)(1), the United States consents to the dismissal of Claims

I and II without prejudice to the United States. Pursuant to Va. Code Ann.§ 8.01-216.5(A), the

Commonwealth of Virginia consents to the dismissal of ClaimsTV and V without prejudice to

the Commonwealth of Virginia.

       The Government submits that the sealing requirement of31 U.S.C. § 3730(b)(2) and Va.
Case 1:18-cv-01278-LMB-MSN Document 11 Filed 09/30/19 Page 2 of 4 PageID# 70
Case 1:18-cv-01278-LMB-MSN Document 11 Filed 09/30/19 Page 3 of 4 PageID# 71
Case 1:18-cv-01278-LMB-MSN Document 11 Filed 09/30/19 Page 4 of 4 PageID# 72
